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              UNITED STATES COURT OF INTERNATIONAL TRADE


 ECHJAY FORGINGS PVT. LTD,

                     Plaintiff,                       Court No. 22-00172

       v.

 UNITED STATES OF AMERICA,

                     Defendant,

       v.

 COALITION OF AMERICAN FLANGE
 PRODUCERS,


                     Defendant-Intervenor.


                                         ORDER

      Upon consideration of the Coalition of American Flange Producers’ (“Coalition”) Motion

to Withdraw, it is hereby ORDERED that the motion is GRANTED, and the Coalition’s position

as Defendant-Intervenor is TERMINATED.




                                                BY THE COURT:



                                                /S/ Jane A. Restani
                                                __________________________
                                                     Jane A. Restani, Judge
